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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 IN RE APPLICATION OF THE
 REPORTERS COMMITTEE FOR
 FREEDOM OF THE PRESS AND THE
                                                       Misc. Case No. 24-115 (JEB)
 WASHINGTON POST FOR AN ORDER
 FURTHER UNSEALING THE ORDERS,
 BRIEFS, TRANSCRIPTS, DOCKET,
 RECORD, AND PARTY NAMES IN
 IN RE GRAND JURY SUBPOENA NO.
 7409



                                 MEMORANDUM OPINION

       When it comes to U.S. presidential elections, following the money can take one to

unexpected destinations. Here, that gilded path leads, of all places, to Egypt — or so argue

Applicants in this matter, the Reporters Committee for Freedom of the Press and The

Washington Post. To confirm that hypothesis, they seek an order from this Court further

unsealing documents in In re Grand Jury Subpoena No. 7409, Grand Jury No. 18-41 (D.D.C.), a

civil-contempt proceeding against a foreign-owned corporation arising out of a federal grand-

jury investigation into whether that corporation provided funds to Donald J. Trump during his

2016 presidential campaign. See ECF No. 1-1 (App.) at 1–4. While that investigation was

ongoing, this Court’s predecessor released some redacted documents in this matter sua sponte

and others on a prior application from the Reporters Committee. See In re Grand Jury Subpoena

No. 7409, 2019 WL 2169265, at *1–3 (D.D.C. April 1, 2019). Last June, this Court then

trimmed some of the previous redactions. See In re Grand Jury Subpoena No. 7409, Grand Jury

No. 18-41, ECF No. 140 (Order) (D.D.C. June 20, 2024). The identity of the corporation, the




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foreign state where it is located, and the details of the investigation, however, have remained

under seal.

       Now, with that grand-jury investigation closed and following reporting from the Post and

other media that the contemnor corporation in question is the National Bank of Egypt,

Applicants ask the Court for further unsealing of those documents to, at a minimum, reveal the

identity of the corporation and nature of the investigation. See App. at 6. The Government

opposes unsealing, noting that, despite the reporting, no party involved in the investigation has

publicly confirmed anything other than that the investigation existed and now has been

terminated. See ECF No. 16 (Opp.) at 5–8. While the question is a close one, the Court will

largely deny the Application.

I.     Background

       The following facts are drawn from the released portions of the redacted documents in

this matter or have otherwise been made public.

       A. Grand-Jury Investigation and Ancillary Proceedings

       Although many Americans may be generally familiar with then-Special Counsel Robert

Mueller’s report on possible interference in the 2016 presidential election, see Sharon LaFraniere

& Katie Benner, Mueller Delivers Report on Trump-Russia Investigation to Attorney General,

N.Y. Times (Mar. 22, 2019), https://perma.cc/W546-PFY3, the full details of that investigation

have not been made public. As relevant here, on July 11, 2018, a federal grand jury sitting in

D.C. issued a subpoena in connection with that investigation seeking certain records from a

“Corporation” from “Country A.” In re Grand Jury Subpoena No. 7409, 2019 WL 2169265, at

*1. Rather than comply, the corporation moved to quash the subpoena, arguing that it was

immune from suit under the Foreign Sovereign Immunities Act and that compliance would be




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“unreasonable or oppressive” under Federal Rule of Criminal Procedure 17(c)(2). See In re

Grand Jury Subpoena No. 7409, Grand Jury No. 18-41, ECF No. 139-1 at ECF p. 2 (Exh. A:

Sept. 19, 2018, Mem. Op. at 1) (D.D.C. June 14, 2024).

       Then-Chief Judge Beryl Howell denied that motion, ordering the corporation to produce

the subpoenaed records by October 1, 2018. See id. at ECF p. 32. That Order sparked a

lightning-fast trip through “all three levels of the federal judiciary.” In re Grand Jury Subpoena

No. 7409, 2019 WL 2169265, at *1. First, after the corporation refused to produce the pertinent

records, the court held it in civil contempt and assessed a daily $50,000 fine against it until full

compliance. See In re Grand Jury Subpoena No. 7409, Grand Jury No. 18-41, ECF No. 30

(Order) at 6 (D.D.C. Oct. 5, 2018). The D.C. Circuit then affirmed the district court in a brief,

unpublished decision, noting that its reasoning would be “explained more fully in an opinion to

be filed at a later date.” In re Grand Jury Subpoena, 749 F. App’x 1, 2 (D.C. Cir. 2018); see In re

Grand Jury Subpoena, 912 F.3d 623 (D.C. Cir. 2019) (full opinion). Finally, in between those

two opinions, the Supreme Court stayed the accrual of contempt sanctions, see In re Grand Jury

Subpoena, No. 18A669 (U.S.) (Order of Dec. 23, 2018), before eventually lifting that stay, see

id. (Order of Jan. 8, 2019), and denying the corporation’s separate petition for certiorari. See In

re Grand Jury Subpoena, 139 S. Ct. 1378, 1378 (2019).

       B. Prior Unsealing, Press Reports, and Current Application

       While the case was winding through the federal judiciary largely under seal, the press had

picked up the scent. See In re Grand Jury Subpoena No. 7409, Grand Jury No. 18-41, ECF No.

139-1 at ECF p. 34 (Exh. B: Jan. 15, 2019, Mem. Op. at 2). But reporters could initially glean

only a few, bare details — namely, that a dispute over a grand-jury-related subpoena, possibly

linked to Mueller’s election-inference investigation, was underway in this district and the D.C.




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Circuit. See, e.g., ECF No. 1-8 (Samuelsohn & Gerstein Article) at ECF pp. 2–5; Katelyn

Polantz et al., Mystery Mueller Mayhem at a Washington Court, CNN (Dec. 15, 2018),

https://perma.cc/QQH3-5PKD. Judge Howell then released in January and February 2019

redacted versions of the docket sheet and six memorandum opinions and orders in the contempt

matter. See In re Grand Jury Subpoena No. 7409, 2019 WL 2169265, at *1 nn.1–2. On

application from the Reporters Committee, she subsequently released in April 2019 redacted

versions of the briefs and transcripts, keeping hidden the identity of the contemnor corporation

and many details of the investigation. See id. at *5–6. Then, several years later — and after the

Government was asked whether it would further unseal any of the six opinions and orders

previously released in redacted form, see In re Grand Jury Subpoena No. 7409, Grand Jury No.

18-41, Minute Order of March 1, 2023 — the United States proposed, and this Court accepted,

the republication of the documents with slightly fewer redactions. See In re Grand Jury

Subpoena No. 7409, Grand Jury No. 18-41, ECF No. 140 (Order) (D.D.C. June 20, 2024). The

files nonetheless keep secret the identity of the contemnor and the nature of the investigation.

See id., ECF No. 139-1 (Attachments).

       Even so, members of the media have constructed a fuller narrative about these

proceedings. In October 2020, for instance, reporters from CNN wrote that the Special Counsel

had been investigating “whether money flowing through an Egyptian state-owned bank could

have backed millions of dollars Donald Trump donated to his own campaign days before he won

the 2016 election.” See ECF No. 1-7 (Polantz Article) at ECF p. 2. Citing a “dozen sources

familiar with the effort,” the article surmised that the subpoena and resulting contempt

proceedings arose from that bank’s efforts to avoid turning over records linking it to Trump’s




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$10 million contribution to his own campaign from his personal funds as the election

approached. Id. at ECF pp. 2, 6.

       Then, last August, the Post published a lengthy article identifying the bank as the

National Bank of Egypt. See ECF No. 1-3 (Davis & Leonnig Article) at ECF p. 2. According to

the paper, Egyptian President Abdel Fatah el-Sisi had withdrawn $10 million from the Egyptian

intelligence service’s account at the National Bank in order to donate that sum to Trump and thus

curry favor with the potential future president. See id. at ECF pp. 2, 5. The Post reported that

the grand-jury investigation into that transaction — and subsequent attempt to subpoena records

from the National Bank — had prompted the civil-contempt proceedings described above. See

id. at ECF pp. 6–8. According to a government lawyer who was overseeing the latter part of the

investigation, the case was “closed without prejudice” in June 2020. See id. at ECF pp. 12–13.

       Shortly after the article was published, this Application was filed. It seeks to unseal all

publicly released documents in their entirety or, at a minimum, to remove redactions concealing

the identity of the corporation and its foreign-state owner, as well as any material “redacted to

conceal the existence and nature of the government’s underlying investigation.” App. at 6.

Because the Chief Judge must “hear and determine all matters relating to proceedings before the

grand jury,” the Application was assigned to this Court. See LCvR 40.7(b). In addition to filing

an Opposition, the Government has also filed an ex parte brief containing additional details

about the information that remains redacted in the unsealed court records in this matter. See

ECF No. 19 (Ex Parte Brief).




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II.    Legal Framework

       A. Grand-Jury Secrecy

       In general, “the grand jury context presents an unusual setting where privacy and secrecy

are the norm.” In re Grand Subpoena, Judith Miller (Miller I), 438 F.3d 1141, 1150 (D.C. Cir.

2006) (quoting In re Sealed Case (Dow Jones II), 199 F.3d 522, 526 (D.C. Cir. 2000)).

Witnesses “enter the grand jury room alone . . . . No judge presides and none is present.” In re

Motions of Dow Jones & Co. (Dow Jones I), 142 F.3d 496, 498 (D.C. Cir. 1998). Access to

grand-jury materials turns on Federal Rule of Criminal Procedure 6(e)(2), which dictates that

“[o]ther than witnesses, each person present . . . is forbidden from disclosing ‘matters occurring

before the grand jury.’” Id. (quoting Fed. R. Crim. P. 6(e)(2)); see also In re Sealed Case No. 99-

3091, 192 F.3d 995, 1002 (D.C. Cir. 1999) (Rule 6(e) covers only “matters occurring before the

grand jury”). In this Circuit, courts also lack any “inherent authority” to release matters

occurring before the grand jury, outside certain enumerated exceptions. McKeever v. Barr, 920

F.3d 842, 844, 850 (D.C. Cir. 2019); see Rule 6(e)(3) (exceptions). This arrangement

“safeguards vital interests,” including “(1) preserving the willingness and candor of witnesses

called before the grand jury; (2) not alerting the target of an investigation who might otherwise

flee or interfere with the grand jury; and (3) preserving the rights of a suspect who might later be

exonerated.” Id. at 844 (citing Douglas Oil Co. v. Petrol Stops Nw., 441 U.S. 211, 219 (1979)).

       B. Accessing Ancillary Proceedings

       The grand jury’s business occasionally calls for “judicial proceedings relating to,” but “at

arm’s length” from, the grand jury itself, including to resolve a witness’s “motion to . . . quash

[a] subpoena.” Dow Jones I, 142 F.3d at 498. Records of such proceedings ancillary to the

grand jury’s work are not themselves subject to grand-jury secrecy but are instead governed by




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Rule 6(e)(6), which requires that “[r]ecords, orders, and subpoenas relating to grand-jury

proceedings must be kept under seal to the extent and as long as necessary to prevent the

unauthorized disclosure of a matter occurring before a grand jury” (emphasis added). Although

Rule 6(e)(6) displaces any First Amendment or common-law right of access to documents in

ancillary proceedings, see Dow Jones I, 142 F.3d at 500–04, the Rule allows for their release

once sealing them is no longer “necessary” to protect grand-jury secrets.

       In assessing the extent of such necessity, the Circuit has explained that Rule 6(e)(6)’s

protection of “a matter occurring before a grand jury” encompasses “not only what has occurred

and what is occurring, but also what is likely to occur” before that body. Id. at 500. The Rule

therefore protects information in ancillary documents that reveals “‘the identities of witnesses or

jurors, the substance of testimony’ as well as actual transcripts, ‘the strategy or direction of the

investigation, the deliberations or questions of jurors, and the like.’” Id. (quoting SEC v. Dresser

Indus., Inc., 628 F.2d 1368, 1382 (D.C. Cir. 1980)). Although Rule 6(e)(6) protection “does not

create a type of secrecy which is waived” as soon as “public disclosure occurs,” once

“information is sufficiently widely known[,] . . . it has lost its character as Rule 6(e) material.”

Id. at 505 (quoting In re North, 16 F.3d 1234, 1245 (D.C. Cir. 1994)). The Rule’s secrecy

requirements therefore yield only “when there is no secrecy left to protect.” In re Grand Jury

Subpoena, Judith Miller (Miller II), 493 F.3d 152, 154 (D.C. Cir. 2007) (citation omitted).

       C. Local Rule 6.1

       While they cannot trump Federal Rules or binding caselaw, this Court’s Local Criminal

Rules set out a mechanism for releasing documents in ancillary proceedings. Rule 6.1 provides

that “[p]apers, orders and transcripts of hearings” in proceedings ancillary to the grand jury, “or

portions thereof, may be made public by the Court on its own motion or on motion of any person




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upon a finding that continued secrecy is not necessary to prevent disclosure of matters occurring

before the grand jury.” Once such a finding has been made, the Circuit has instructed that

“where the Rules authorize [courts] to do so, [courts] may — and should — release any

information so long as it does not reveal” material that Rule 6(e)(6) protects. In re Grand Jury

Subpoena, No. 18-3071, Order at 1 (D.C. Cir. Apr. 23, 2019) (emphasis added). Prior to public

release, the Chief Judge may also “redact[] documents.” Dow Jones I, 142 F.3d at 501, 506

(describing Chief Judge’s release of former President Clinton’s motion seeking contempt order

for violations of grand-jury secrecy); see, e.g., In re Grand Jury Subpoena No. 7409, 2019 WL

2169265, at *3, *5 (ordering release of redacted briefs and transcripts in this matter); Order and

Unsealed Records, Grand Jury No. 18-41 (June 7, 2019), https://perma.cc/4K53-B3KL

(displaying redacted filings, transcript, and court opinion for public viewing on court website).

III.   Analysis

       Encapsulating what was set forth above, this Circuit has summarized, “Courts may unseal

records containing matters occurring before a grand jury only if the matters have already been

publicly disclosed, one of the Rule 6(e)(3) exceptions applies, or the records can be redacted to

excise any secret information.” In re Cheney, 2024 WL 1739096, at *3 (D.C. Cir. Apr. 23,

2024) (citations omitted). Applicants do not argue that any of the Rule 6(e)(3) exceptions

applies. Rather, they contend, first, that many of the existing redactions in the already released

documents are no longer necessary because the grand-jury investigation has closed, see App. at

17–20; and second, that the information in question has in any event been publicly disclosed and

become so “widely known” that it should lose its protection. Id. at 20 (quoting In re Cheney,

2024 WL 1739096, at *3). The Court will address each argument in turn.




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       A. Closure of Grand-Jury Investigation

       It is no doubt true that, where possible, the Chief Judge should make grand-jury-related

matters public “when they ‘can be redacted to excise any secret information.’” Id. at 17 (quoting

In re Cheney, 2024 WL 1739096, at *3); see Local Criminal Rule 6.1; In re Grand Jury

Subpoena, No. 18-3071, Order at 1. In this case, however, such unsealing with redactions has

already occurred, and Applicants do not seriously contend otherwise. Rather, they attempt to

extrapolate from Rule 6.1 the additional principle that redactions in unsealed documents should

be removed when they are “based, at least in part, on a consideration that no longer holds” —

here, that the grand-jury investigation was ongoing. See App. at 18. The closure of that

investigation, Applicants argue, “diminishe[s]” the interest in grand-jury secrecy, which should

correspondingly “give way” to the interests in transparency and accountability. Id. at 18–19.

       Even if Rule 6.1 extends to removing redactions, as the Government correctly retorts,

“[T]he protections of Rule 6(e)(6) do not disappear at the close of an investigation.” Opp. at

ECF p. 4. Among the “vital interests” grand-jury secrecy preserves are “the willingness and

candor of witnesses” and “the rights of a suspect who might later be exonerated.” McKeever,

920 F.3d at 844; see Douglas Oil Co., 441 U.S. at 218–19. Neither of these interests is

extinguished by the close of an investigation. Cf. In re Comm. on the Jud., U.S. House of Reps.,

951 F.3d 589, 600 (D.C. Cir. 2020) (although “[t]he need for grand jury secrecy is reduced after

the grand jury has concluded its work,” “courts still must consider the possible effect upon the

functioning of future grand juries”) (cleaned up), vacated and remanded sub nom. DOJ v. House

Comm. on the Jud., 142 S. Ct. 46 (2021) (citing United States v. Munsingwear, Inc., 340 U.S. 36

(1950)).




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       That the investigation here, moreover, concerned “matters of grave national concern,”

App. at 19, does not alter this calculus. Indeed, the Advisory Committee on Criminal Rules

expressly declined in 2021 to add a Rule 6(e) exception for “materials of special historical or

public interest” on the ground that such an exception might impede witness cooperation. See In

re N.Y. Times Co., 657 F. Supp. 3d 136, 153 (D.D.C. 2023) (discussing rejection of proposal),

vacated on other grounds sub nom. In re Cheney, 2024 WL 1739096. And sure enough, the

contemnor corporation in question here has informed the Government that it wishes to keep its

identity under wraps. See Opp. at ECF p. 4. Its cooperation with future grand-jury

investigations — or that of any other witness — might be compromised if confidentiality could

be swept aside whenever the topic of a closed investigation was deemed to be sufficiently

newsworthy. Cf. N.Y. Times Co., 657 F. Supp. 3d at 152 (suggesting “ironic result” that

heightened public interest may, in fact, call for more careful sealing of grand-jury matters).

       All of which leads to the same conclusion: although the need for grand-jury secrecy may

be “heighten[ed]” during an “ongoing” investigation, In re Grand Jury Subpoena, Judith Miller,

438 F.3d 1138, 1141 (D.C. Cir. 2006), it by no means fully dissipates upon the investigation’s

conclusion. Applicants have presented no reason, apart from mere public interest, that would

justify overriding that significant concern. See In re Press Application for Access to Jud. Recs.

Ancillary to Certain Grand Jury Procs. Concerning Former President Trump’s Comms. with his

Attorneys, 687 F. Supp. 3d 132, 140 (D.D.C. 2023) (“There is . . . no . . . right of access to

documents in ancillary proceedings, regardless of how newsworthy and significant such

proceedings may be.”) (quotation marks omitted). The Court therefore will not do so.




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       B. Spread of Information

       Trying a different tack, Applicants assert that “there is no secrecy left to protect” anyway,

Miller II, 493 F.3d at 154, because the identity of the contemnor corporation and the details of

the investigation have become “sufficiently widely known.” App. at 20 (quoting In re Cheney,

2024 WL 1739096, at *3). To support this argument, they lean heavily on the Post’s

“painstaking reporting” on the grand-jury investigation, coupled with both on-the-record

comments from various individuals and Applicants’ own deductions from portions of the

documents that have already been released. Id. at 21–22; ECF No. 20 (Reply) at 4–13. For its

part, the Government agrees that “the fact of an investigation” and its “closure” are matters of

public record; to the extent that any of the current redactions reference such facts, it consents to

their removal. See Opp. at ECF p. 7. But it resists unsealing any other details about the

investigation, including the identity of the contemnor corporation or “Country A.” See id. at

ECF pp. 5–9.

       Insofar as Applicants suggest that media reporting alone is enough to destroy grand-jury

secrecy, see, e.g., App. at 20–21; Reply at 3, they are mistaken. It is well established that “press

reports relying on unnamed sources” cannot strip away that secrecy. Dow Jones I, 142 F.3d at

505; see also In re North, 16 F.3d at 1245 (“[W]hen the media reports information alleged to be

grand jury material, the government is obligated to stand silent and not confirm the information,

whether it is accurate or not.”) (quotation marks omitted). That is why, for example, Judge

Howell twice rejected requests to unseal ancillary grand-jury material related to various

investigations into former President Trump. In both instances, the reporting that formed the

basis for the unsealing requests had relied primarily on anonymous sources. See N.Y. Times




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Co., 657 F. Supp. 3d at 156–57; In re Press Application for Access to Jud. Recs. & Procs., 2023

WL 11158249 at *2–3 (D.D.C. Mar. 11, 2023).

       Precedent in this Circuit thus counsels that “who makes the disclosure matters.” N.Y.

Times Co., 657 F. Supp. 3d at 151 (emphasis added). Grand-jury material may, for instance,

become sufficiently widely known to merit unsealing when disclosed through a judicial

proceeding or by a party with authoritative knowledge of the matter — e.g., the government or a

privilege-holder such as a witness or her attorney. See In re Cheney, 2024 WL 1739096, at *3;

Miller II, 493 F.3d at 154–55 (releasing only those materials that were revealed “either during [a]

trial or by grand jury witnesses themselves”); Dow Jones I, 142 F.3d at 505 (when witness’s

attorney “virtually proclaimed from the rooftops that his client had been subpoenaed,” that fact

“lost its character as Rule 6(e) material”) (quotation marks omitted); In re North, 16 F.3d at 1245

(noting that, “when a judge in open court and in the presence of reporters . . . inadvertently

state[s] the name of the as yet unindicted subject of a grand jury investigation,” the “cat [may be]

out of the bag”) (quotation marks omitted). “Absent such reliable, credible, and authoritative

disclosures of grand jury matters,” however, “Rule 6(e) protections remain intact.” N.Y. Times

Co., 657 F. Supp. 3d at 152.

       Acknowledging this precedent, Applicants nonetheless maintain that such authoritative

disclosures have occurred here. They point to the following revelations: (1) a footnote in the

redacted September 19, 2018, memorandum opinion in the contempt proceedings, which reveals

that corporation personnel in Cairo, Egypt, would be involved in collecting documents for the

subpoena; (2) that same opinion’s identification of a person named “Ashraf Shaaban” as the

“movant group’s legal counsel,” who Applicants claim (on the basis of a Google search) works

at the National Bank of Egypt; and (3) statements to the Post by the director of Egypt’s Foreign




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Press Center, Trump’s campaign manager, and a former government lawyer that the

investigation has indeed been closed without charges. See App. at 21–22; Reply at 2–8 & n.3.

According to Applicants, in the face of the breadcrumbs they have gathered from the redacted

September 19 opinion, the aforementioned statements, and the obvious implications therefrom, it

would require “sticking one’s head in the sand” to avoid the conclusion that the grand-jury

investigation involved the National Bank of Egypt’s sending of funds to Trump. See Reply at

13.

       The standard here, however, does not depend on the most likely inferences that may be

drawn; indeed, it is not ultimately the job of this Court to connect the dots. See N.Y. Times Co.,

657 F. Supp. 3d at 152 (“[R]elease of a judicial decision resolving an issue arising from a grand

jury investigation in response to media requests predicated on general leaks may serve only to

fill gaps in public reporting and thus violate Rule 6(e)(2).”). Readers of the Post’s reporting are

free to form any conclusions they wish, yet they do so with the understanding that no party to the

grand-jury investigation — not the Government, not the witnesses, not the target, and no

representative of any foreign state or bank — has publicly disclosed the identity of the

contemnor, the country where it is located, or the details of the investigation.

       Forming an inference from a collection of clues, however suggestive they may be, is a far

cry from, e.g., a grand-jury witness’s public admission of involvement on the “CBS Evening

News.” Miller II, 493 F.3d at 155; see also In re Press Application for Access to Judicial

Records Ancillary to Certain Grand Jury Proceedings Concerning Former Vice President Mike

Pence, 678 F. Supp. 3d 135, 142–43 (D.D.C. 2023) (permitting unsealing of court records related

to former Vice President Pence’s challenge to grand-jury subpoena after he had already “publicly

acknowledged the facts underlying the privilege dispute”) (quotation marks omitted). To point




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out just one issue with Applicants’ logic: even accepting their supposition that the corporation in

question is an Egyptian state-owned bank — again, a claim that no relevant party has confirmed

— there were several such banks operating in Egypt in the relevant period. See Tarek Roshdy

Abdel Halem Gebba, Corporate Governance of Egyptian State-Owned Banks, 15 Int’l J. Applied

Bus. & Econ. Rsch. 207, 219 (2017) (listing four state-owned commercial banks).

       Nor is this situation like what our Circuit confronted in In re North, on which Applicants

rely. See Reply at 10. There, the question was whether the court could, under Rule 6(e)(3)(C)’s

exception permitting disclosure “in connection with a judicial proceeding,” release the Final

Report of the Independent Counsel investigating the Iran-Contra affair, notwithstanding that it

contained grand-jury material. See In re North, 16 F.3d at 1244. That scandal had already

produced “indictments of fourteen persons, four well publicized trials,” id. at 1240, four interim

reports released to Congress that included “most” of the Rule 6(e) material found in the Final

Report, id. at 1244, and statements to the press by the Independent Counsel himself. See id. at

1241. After submitting the Final Report to the court, moreover, the Independent Counsel had

sent it or portions of it to all persons mentioned, as required by statute. See id. at 1236. It was in

that unique context that the panel observed that grand-jury secrecy “no longer exist[ed]” because

“Rule 6(e) material was given currency among the extended community of persons named in the

Report and ultimately became part of the media accounts, though not necessarily identified as

grand-jury-related by that time.” Id. at 1244–45.

       No such sustained or repeated disclosure by the relevant parties has occurred here. Just

the opposite, in fact. See Davis & Leonnig Article at ECF p. 3 (“A spokesman for Trump’s

presidential campaign did not answer a list of questions from The Post, instead referring to this

story as ‘textbook Fake News.’”); id. (“An Egyptian government spokesman declined to answer




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detailed questions sent by The Post.”); id. at ECF p. 4 (“The Justice Department and the U.S.

attorney’s office in D.C. declined to answer detailed questions for this report. The FBI declined

to answer The Post’s questions or to make [FBI Director Christopher] Wray available to

comment. [Former Attorney General William] Barr also declined to answer detailed questions

for this report, and [Former U.S. Attorney for D.C. Jessie] Liu did not respond to a similar

inquiry.”). While some parties did comment briefly on the investigation, for its finer details —

including, most critically, whom it involved — the Post relies exclusively on “multiple people

with knowledge of the events” or “familiar with the matter.” E.g., id. at ECF p. 5. “Those

sources . . . are not the type of confirmation by government attorneys, grand jury witnesses, or a

privilege holder that the Circuit has found sufficient to make secrecy no longer necessary.” N.Y.

Times Co., 657 F. Supp. 3d at 157.

        This case is therefore most similar to In re Press Application for Access to Judicial

Records, 687 F. Supp. 3d 132, which was a previous attempt to obtain evidence of a privilege

dispute arising out of the grand-jury investigation into Trump’s handling of classified

documents. There, as here, the press had pieced together a narrative (in that case, the surmised

existence of a privilege dispute) from public documents and media reports based primarily on

unidentified sources. See id. at 137–38. There, as here, Trump decried the reporting as false,

and both the purported witness and the Government declined to comment. Id. at 138. And there,

as it must here, the Court held that the press’s inferences, however “plausible,” did not constitute

the type of public disclosure that has traditionally warranted lifting the veil of grand-jury

secrecy. Id. As the Court explained, “‘[T]here is likely to be a chilling effect on what a witness

is willing to say to a grand jury . . . if there is a risk the court will later make the witness’s




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testimony public’ based on the revelations of others.” Id. at 140 (quoting McKeever, 920 F.3d at

849) (first alteration in original).

        The Court today acknowledges the press’s “diligent efforts to inform the public of the

details surrounding these newsworthy events.” Id. It nevertheless must respect the limits of

Rule 6(e) as construed by the D.C. Circuit, which has circumscribed the types of sources whose

public disclosures may vitiate the need for grand-jury secrecy.

IV.     Conclusion

        For the foregoing reasons, the Court will deny the Application for Unsealing, except to

the extent that existing redactions cover material that references only the existence or closure of

the grand-jury investigation. A separate Order so stating will issue this day.



                                                              /s/ James E. Boasberg
                                                              JAMES E. BOASBERG
                                                              Chief Judge
Date: January 14, 2025




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